Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6405 Filed 07/28/21 Page 1 of 12




                         EXHIBIT 3
      Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6406 Filed 07/28/21 Page 2 of 12


Nate Fink

From:                                         Nate Fink
Sent:                                         Tuesday, December 15, 2020 4:21 PM
To:                                           sidney@federalappeals.com; attorneystefanielambert@gmail.com;
                                              howard@kleinhendler.com; gregoryrohl@yahoo.com; Scotthagerstrom@yahoo.com;
                                              lwood@linwoodlaw.com; Julia.Z.Haller@hud.gov
Cc:                                           David Fink; Darryl Bressack; Lawrence Garcia; James Noseda; Charles Raimi; Glenn
                                              Gayer; Kim Hunt; eldridge@millercanfield.com; grille@michigan.gov;
                                              megurewitz@gmail.com; meingasth@michigan.gov; aap43@hotmail.com;
                                              melias@perkinscoie.com; jjasrasaria@perkinscoie.com; wstafford@perkinscoie.com;
                                              jhawley@perkinscoie.com; john.walsh@wilmerhale.com;
                                              brian.boynton@wilmerhale.com; seth.waxman@wilmerhale.com
Subject:                                      Timothy King, et al v. Gretchen Whitmer, et al - E.D. Mich. Case No. 2:20-cv-13134
Attachments:                                  King - Intervenor-Defendant City of Detroit's Letter Enclosing Rule 11 Motion
                                              (00045162xE249C).PDF


Counsel,

Please find attached, and served, Intervenor‐Defendant City of Detroit’s Motion for Rule 11 Sanctions in Timothy King, et
al v. Gretchen Whitmer, et al ‐ E.D. Mich. Case No. 2:20‐cv‐13134.

Nate Fink


                                             Nathan J. Fink
                                             T: 248-971-2500
                                             E: nfink@finkbressack.com | W: http://www.finkbressack.com
                                             A: 38500 Woodward Ave., Suite 350, Bloomfield Hills, MI 48304
                                             A: 535 Griswold St., Suite 1000, Detroit, MI 48226
NOTICE: This is a communication from Fink Bressack and is intended for the named recipient(s) only. It may contain information which is privileged, confidential
and/or protected by the attorney-client privilege or attorney work product doctrine. If you received this by mistake, please destroy it and notify us of the error.
Thank you.




                                                                                1
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6407 Filed 07/28/21 Page 3 of 12
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6408 Filed 07/28/21 Page 4 of 12




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   TIMOTHY KING, MARIAN ELLEN
   SHERIDAN, JOHN EARL HAGGARD,
   CHARLES JAMES RITCHARD, JAMES
   DAVID HOOPER and DAREN WADE                     No. 2:20-cv-13134
   RUBINGH,                                        Hon. Linda V. Parker


                 Plaintiffs,
     v.

   GRETCHEN WHITMER, in her official
   capacity as Governor of the State of
   Michigan, et al,

                 Defendants,

    and

   CITY OF DETROIT, et al,

                 Intervenor-Defendants.

               INTERVENOR-DEFENDANT CITY OF DETROIT’S
                    MOTION FOR RULE 11 SANCTIONS

          Intervenor-Defendant City of Detroit (the “City”), by and through counsel,

  respectfully moves for sanctions against Plaintiffs and their counsel pursuant to

  Federal Rule of Civil Procedure 11.

          The undersigned counsel certifies that counsel communicated in writing with

  opposing counsel, explaining the nature of the relief to be sought by way of this
                                           1
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6409 Filed 07/28/21 Page 5 of 12




  motion and seeking concurrence in the relief; opposing counsel thereafter denied

  concurrence.1

                   Sanctions Pursuant to Fed. R. Civ. P. 11(b)(1)

        1.     Sanctions should be imposed under Fed. R. Civ. P. 11(b)(1) when a

  pleading or other filing is presented for any improper purpose, such as to harass,

  cause unnecessary delay, or needlessly increase the cost of litigation.

        2.     Sanctions pursuant to the sub-rule should be imposed against Plaintiffs

  and their counsel because they initiated the instant suit for improper purposes,

  including harassing the City and frivolously undermining “People’s faith in the

  democratic process and their trust in our government.” Opinion and Order Denying

  Plaintiffs’ “Emergency Motion for Declaratory, Emergency, and Permanent

  Injunctive Relief,” ECF No. 62, PageID.3329-3330.

        3.     Plaintiffs and their counsel understood that the mere filing of a suit (no

  matter how frivolous) could, without any evidence, raise doubts in the minds of

  millions of Americans about the legitimacy of the 2020 presidential election. As this

  Court noted, “Plaintiffs ask th[e] Court to ignore the orderly statutory scheme

  established to challenge elections and to ignore the will of millions of voters.” Id.

  PageID.3330.



        1
          Ms. Powell, this paragraph is included in our proposed motion in anticipation
  that you will not concur. If you do concur, we will not be filing the Motion.
                                            2
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6410 Filed 07/28/21 Page 6 of 12




        4.     The Complaints (ECF Nos. 1 and 6), Emergency Motion for

  Declaratory, Emergency, and Permanent Injunctive Relief and Memorandum in

  Support Thereof (ECF No. 7), and Emergency Motion to Seal (ECF No. 8) were

  devoid of merit and thus could only have been filed to harass the City.

                   Sanctions Pursuant to Fed. R. Civ. P. 11(b)(2)

        5.     Sanctions under Fed. R. Civ. P. 11(b)(2) are appropriately entered

  where the claims, defenses, and other legal contentions are not warranted by existing

  law or by a non-frivolous argument for extending, modifying, or reversing existing

  law or for establishing new law.

        6.     Sanctions pursuant to Rule 11(b)(2) should be imposed against counsel

  for Plaintiffs because the causes of action asserted in the Complaints (ECF Nos. 1

  and 6), Emergency Motion for Declaratory, Emergency, and Permanent Injunctive

  Relief and Memorandum in Support Thereof (ECF No. 7), and Emergency Motion

  to Seal (ECF No. 8) were frivolous and legally deficient under existing law and

  because Plaintiffs failed to present any non-frivolous arguments to extend, modify,

  or reverse existing law.

        7.     The majority of Plaintiffs’ claims were moot. As this Court noted,

  “[t]he time has passed to provide most of the relief Plaintiffs request in their

  Amended Complaint; the remaining relief is beyond the power of any court. For

  these reasons, this matter is moot.” ECF No. 62, PageID.3307.


                                           3
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6411 Filed 07/28/21 Page 7 of 12




          8.    Plaintiffs’ claims were also barred by laches because “they waited too

  long to knock on the Court’s door.” Id. at PageID.3310. Indeed, “Plaintiffs showed

  no diligence in asserting the claims at bar.” Id. at PageID.3311. This delay prejudiced

  the City. Id. at PageID.3313.

          9.    Plaintiffs lacked standing to pursue their claims. Id. at PageID.3317-

  3324.

          10.   Plaintiffs’ claim for violation of the Elections and Electors Clauses is

  frivolous. As this Court held, “Plaintiffs ask the Court to find that any alleged

  deviation from state election law amounts to a modification of state election law and

  opens the door to federal review. Plaintiffs cite to no case – and this Court found

  none – supporting such an expansive approach.” Id. at PageID.3325.

          11.   Plaintiffs’ due process and equal protection clause claims are also

  baseless. With regard to the due process claim, this Court held that “Plaintiffs do not

  pair [the due process claim] with anything the Court could construe as a developed

  argument. The Court finds it unnecessary, therefore, to further discuss the due

  process claim.” Id. at PageID.3317. As to the equal protection claim, this Court

  stated that “[w]ith nothing but speculation and conjecture that votes for President

  Trump were destroyed, discarded or switched to votes for Vice President Biden,

  Plaintiffs’ equal protection claim fails.” Id. at PageID.3328.




                                            4
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6412 Filed 07/28/21 Page 8 of 12




        12.    For each of Plaintiffs’ claims, Plaintiffs did not identify valid legal

  theories and the controlling law contradicted the claims. The claims were not

  warranted by existing law or by a non-frivolous argument for extending, modifying,

  or reversing existing law or for establishing new law.

        13.    Plaintiffs’ Emergency Motion for Declaratory, Emergency, and

  Permanent Injunctive Relief and Memorandum in Support Thereof (ECF No. 7) was

  without any legal basis because, as described above, the underlying claims are

  baseless, and the requests for relief were frivolous.

        14.    Plaintiffs’ Emergency Motion to Seal (ECF No. 8) was without any

  legal basis because Plaintiffs seek to anonymously file supposed evidence of a broad

  conspiracy to steal the 2020 presidential election without providing any authority

  whatsoever to attempt to meet their heavy burden to justify the sealed filing of these

  documents.

                    Sanctions Pursuant to Fed. R. Civ. P. 11(b)(3)

        15.    Sanctions can be imposed under Fed. R. Civ. P. 11(b)(3) where factual

  contentions do not have evidentiary support or will likely not have evidentiary

  support after a reasonable opportunity for further investigation or discovery.

        16.    Sanctions should be entered against Plaintiffs and their counsel

  pursuant to Fed. R. Civ. P. 11(b)(3) because the factual contentions raised in the

  complaints and motions were false.


                                             5
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6413 Filed 07/28/21 Page 9 of 12




        17.      The key “factual” allegations from the supposed fact witnesses, some

  of whom attempt to cloak their identities while attacking democracy, have been

  debunked. The allegations about supposed fraud in the processing and tabulation of

  absentee ballots by the City at the TCF Center have been rejected by every court

  which has considered them. If any of the claims in this lawsuit had merit, that would

  have been demonstrated in those cases. The City refers the Court to its Response to

  Plaintiffs’ Emergency Motion for Declaratory, Emergency, and Permanent

  Injunctive Relief for a detailed debunking of Plaintiffs’ baseless factual contentions.

  ECF No. 39, PageID.2808-2933.

                                      Relief Requested

        WHEREFORE, for the reasons specified in this Motion and Brief in Support,

  the City respectfully request that this Court enter an order, among other things:

        a) Imposing monetary sanctions against Plaintiffs and their counsel in an

              amount sufficient to deter future misconduct;

        b) Requiring Plaintiffs and their counsel to pay all costs and attorney fees

              incurred by the City in relation to this matter;

        c) Requiring Plaintiffs and their counsel to post a bond of $100,000 prior to

              the filing of any appeal of this action;

        d) Requiring Plaintiffs and their counsel to post a bond of $100,000 prior to

              filing, in any court, an action against the City, or any other governmental


                                               6
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6414 Filed 07/28/21 Page 10 of 12




           entity or their employees, relating to or arising from the facts alleged in

           this matter;

        e) Requiring Plaintiffs to post a substantial bond, in an amount determined

           by the Court, prior to filing an action in the Eastern District of Michigan;

        f) Requiring Plaintiffs and their counsel to obtain certification from a

           magistrate judge that the proposed claims are not frivolous or asserted for

           an improper purpose, before filing an action in the Eastern District of

           Michigan;

        g) Requiring Plaintiffs and their counsel to certify, via affidavit, under

           penalty of perjury, that they have paid all amounts required to fully satisfy

           any non-appealable orders for sanctions entered by any court, prior to

           filing an action in the Eastern District of Michigan;

        h) Barring Plaintiffs’ counsel from practicing law in the Eastern District of

           Michigan;

        i) Referring Plaintiffs’ counsel to the State Bar of Michigan for grievance

           proceedings; and,

        j) Granting any other relief for the City that the Court deems just or equitable.

   December 15, 2020                             Respectfully submitted,

                                                 FINK BRESSACK

                                                 By: /s/ David H. Fink
                                                 David H. Fink (P28235)
                                            7
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6415 Filed 07/28/21 Page 11 of 12




                                            Darryl Bressack (P67820)
                                            Nathan J. Fink (P75185)
                                            Attorneys for City of Detroit
                                            38500 Woodward Ave., Ste. 350
                                            Bloomfield Hills, MI 48304
                                            Tel: (248) 971-2500
                                            dfink@finkbressack.com
                                            dbressack@finkbressack.com
                                            nfink@finkbressack.com

                                            CITY OF DETROIT
                                            LAW DEPARTMENT
                                            Lawrence T. Garcia (P54890)
                                            Charles N. Raimi (P29746)
                                            James D. Noseda (P52563)
                                            Attorneys for City of Detroit
                                            2 Woodward Ave., 5th Floor
                                            Detroit, MI 48226
                                            Tel: (313) 237-5037
                                            garcial@detroitmi.gov
                                            raimic@detroitmi.gov
                                            nosej@detroitmi.gov




                                        8
Case 2:20-cv-13134-LVP-RSW ECF No. 164-4, PageID.6416 Filed 07/28/21 Page 12 of 12




                           CERTIFICATE OF SERVICE

         I hereby certify that on December 15, 2020, I served the foregoing paper on

  counsel of record via email and caused it to be served by first class mail on counsel

  for Plaintiffs.

                                         FINK BRESSACK

                                         By: /s/ Nathan J. Fink
                                         Nathan J. Fink (P75185)
                                         38500 Woodward Ave., Suite 350
                                         Bloomfield Hills, MI 48304
                                         Tel: (248) 971-2500
                                         nfink@finkbressack.com




                                           9
